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                          EXHIBIT J
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 JUAN JOSE HARO                                  §
      Plaintiff                                  §
                                                 §
 v.                                              §      CIVIL ACTION NO.
                                                 §
 EQUISOLAR, INC., SOLAR MOSAIC,                  §      JURY TRIAL DEMANDED
 LLC AND ASHLEY GERSHOONY                        §
      Defendant

      DEFENDANTS, EQUISOLAR, INC. AND ASHLEY GERSHOONY’S RULE 7.1
                        DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

DEFENDANTS, EQUISOLAR, INC. AND ASHLEY GERSHOONY., (a private non-

governmental party) certifies that there are NO corporate parents, affiliates and/or subsidiaries of

said party, which are publicly held.


Dated: November 12, 2024.                     Respectfully submitted,

                                              By:/s/ Lema Mousilli
                                              Lema Mousilli
                                              Attorney-In-Charge
                                              Texas Bar No. 24056016
                                              S.D. Texas Bar No. 1358290
                                              MOUSILLI LAW, PLLC
                                              11807 Westheimer Road
                                              Suite 550, PMB 624
                                              Houston, TX 77077
                                              Tel: (281) 305-9313
                                              lema@mousillilaw.com
                                              service@mousillilaw.com
                                              ATTORNEY FOR DEFENDANTS
                                              EQUISOLAR, INC., AND ASHLEY
                                              GERSHOONY




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DEFENDANTS’ EQUISOLAR, INC. AND ASHLEY GERSHOONY’S RULE 7.1 DISCLOSURE STATEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document, and any

attachments, will be served on all counsel of record, in accordance with the governing rules of

procedure regarding service on this November 12, 2024, via electronic filing manager as follows:

Benjamin Sanchez
Sanchez Law Firm
150 W. Parker Rd., Suite 201
Houston, Texas 77076
service@sanchezlawfirm.com
(713) 780-7745
Attorney for Plaintiff

                                            /s/ Lema Mousilli
                                            Lema Mousilli




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DEFENDANTS’ EQUISOLAR, INC. AND ASHLEY GERSHOONY’S RULE 7.1 DISCLOSURE STATEMENT
